Case 2:03-cr-20485-SH|\/| Document 287 Filed 06/08/05 Page 1 of 2 Page|D 323

IN THE UNITED STATES DISTRICT coURT Fll_Er_') gay % D{`
FOR THE WESTERN DISTRICT oF TENNESSEE 4 '''''' '#'

WESTERN DIVISION

05 JUH~B AHH: 57

 

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UNITED STATES OF AMERICA, GL§I§ET§MM;:§?U§Y
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vs. NO. 03_20485'Ma

DEMOND ROBINSON,

Defendant.

 

ORDER WITHDRAWING ORDER OF REFERENCE

 

The order of reference docketed on May 25, 2005, referring
defendant's request for new counsel to the magistrate judge is
Withdrawn.

It is so ORDERED this 7$<'day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

